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          Case 2:16-cv-00701-RAJ-RJK Document 1 Filed 12/08/16 Page 1 of 7 PageID# 1
                                                                                                                              iLED J

                                                                                                                      DEC - 8 2016

                                            IN THE UNITED STATES DISTRICT COURT
                                                 EASTERN DISTRICT OF VIRGINIA                                CLERK, US DiSTRlCT COURT
                                                                                                                       Nc;V""OLK, VA

                                COMPLAINT UNDER CIVIL RIGHTS ACT 42 U.S.C. § 1983
                                                                                                                         LL

                                                                                 Action Number
                                                                                         (To be suppliedby the Cleric. U.S.DistrictCourt)


             Please fill out this complaint form completely. The Court needs the information requested in
             order to assure that your complaint isprocessed asquickly aspossible and that allyour claims
             are addressed. Please print/write legibly or type.

            1.       PARTIES

            A.       Plaintiff:

                                        ^                r-) *--6                 ''i-                ]\\S-S8
                     1.         (a)                                                           (b)
                                            (Name)                                                       (Inmate number)

                                (c)          10\ Ir fi'^               VIP'' i
                                            (Address)

                                      C'0 V'rnr>r »cl , If.          V s ••V

            Plaintiff MUST keep the Clerk of Court notified of any change of address due to transfer
            or release. If plaintiff fails to keep the Clerk informed of such changes,this actionmay be
            dismissed.


            Plaintiff is advised that only persons acting under the color of state law are proper
            defendants under Section 1983. The Commonwealth of Virginia is immune under the
            Eleventh Amendment. Private parties such as attorneys and other inmates may not be
            sued under Section 1983. In addition, liability under Section 1983 requires personal action
            by the defendant that caused you harm. Normally, the Director of the Department of
            Corrections, wardens, and sheriffs are not liable under Section 1983 when a claim against
            them rests solely on the fact that they supervise persons who may have violated your rights.
            In addition, prisons, jails, and departments within an institution are not persons under
            Section 1983.


            B,       Defendant(s):

                     1.      (a)                                                              (b)         IC.V rv^0rA
                                                                                                                    cl ""o'' cV:            p rW^vrV
                                            (Name)                                                      (Title/Job Description)

                             (c) ^oo vj .                           c-Vcj-i-
                                            (Address)
       G E 1W                                 mor- >c\

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CLERK. U.S. DISTRICT COURT
      RICHMOND, VA
Case 2:16-cv-00701-RAJ-RJK Document 1 Filed 12/08/16 Page 2 of 7 PageID# 2
Case 2:16-cv-00701-RAJ-RJK Document 1 Filed 12/08/16 Page 3 of 7 PageID# 3
Case 2:16-cv-00701-RAJ-RJK Document 1 Filed 12/08/16 Page 4 of 7 PageID# 4
Case 2:16-cv-00701-RAJ-RJK Document 1 Filed 12/08/16 Page 5 of 7 PageID# 5
Case 2:16-cv-00701-RAJ-RJK Document 1 Filed 12/08/16 Page 6 of 7 PageID# 6
Case 2:16-cv-00701-RAJ-RJK Document 1 Filed 12/08/16 Page 7 of 7 PageID# 7
